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                                 UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 3:13-CR-00037-LRH-WGC-1

12                  Plaintiff,                                   ORDER GRANTING
                                                             STIPULATION TO CONTINUE
13          v.
                                                               REVOCATION HEARING
14   PAUL XAVIER ESPINOZA,                                          (First Request)

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
18   Acting United States Attorney, and Megan Rachow, Assistant United States Attorney, counsel
19   for the United States of America, and Rene L. Valladares, Federal Public Defender, and
20   Annie Youchah, Assistant Federal Public Defender, counsel for Paul Xavier Espinoza, that the
21   Revocation Hearing currently scheduled on October 12, 2021 at 11:00 am, be vacated and
22   continued to a date and time convenient to the Court, but no sooner than thirty (30) days.
23          This Stipulation is entered into for the following reasons:
24          1.      Defense counsel has filed a motion to continue the preliminary hearing past the
25   current date of the scheduled Revocation Hearing
26          2.      The defendant is in custody and agrees with the need for the continuance.
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 1           3.     The parties agree to the continuance.
 2           4.     Additionally, denial of this request for continuance could result in a miscarriage
 3   of justice.
 4           This is the first request for a continuance of the revocation hearing.
 5           DATED this 1st day of October, 2021.
 6
 7    RENE L. VALLADARES                               CHRISTOPHER CHIOU
      Federal Public Defender                          Acting United States Attorney
 8
 9       /s/ Annie Youchah                                /s/ Megan Rachow
      By_____________________________                  By_____________________________
10    ANNIE YOUCHAH                                    MEGAN RACHOW
      Assistant Federal Public Defender                Assistant United States Attorney
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                                           ORDER
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16    IT IS SO ORDERED.

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19    _________________________
      LARRY R. HICKS
20    United States District Judge
21
22    DATED: October 1, 2021.
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